         Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 1 of 24 PageID #: 1350
                                                                                      III -   1


           1                              UNITED STATES OF AMERICA
                                        EASTERN DISTRICT OF MISSOURI
           2                                SOUTHEASTERN DIVISION

           3      JORDAN BLAIR,                              )
                                                             )
           4                    Plaintiff,                   )
                                                             )
           5             vs.                                 )   No. 1:02-CV-88 CAS
                                                             )
           6      BOB WILLS, ET AL.,                         )
                                                             )
           7                    Defendants.                  )

           8
                                           TRANSCRIPT OF JURY TRIAL
           9
                                   BEFORE THE HONORABLE CHARLES A. SHAW
          10                           UNITED STATES DISTRICT JUDGE

          11                                     April 14, 2004
                                                   Volume III
          12

          13      APPEARANCES:

          14      For Plaintiff:             Mr. Oscar Stilley
                                             511 Rogers Avenue
          15                                 Central Mall Plaza, Suite 520
                                             Fort Smith, AR 72903
          16
                  For Defendants:            Mr. John L. Oliver, Jr.
          17                                 OLIVER, OLIVER & WALTZ
                                             400 Broadway, P.O. Box 559
          18                                 Cape Girardeau, MO 63702

          19                                 Mr. John D. Briggs
                                             BROWN AND JAMES
          20                                 1010 Market Street, 20th Floor
                                             St. Louis, MO 63101
          21
                  REPORTED BY:               SUSAN R. MORAN, RMR
          22                                 Official Court Reporter
                                             111 South 10th Street
          23                                 St. Louis, MO 63102
                                             (314) 244-7983
          24
                  Proceedings recorded by mechanical stenography, produced by
          25      computer-aided transcription.




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
         Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 2 of 24 PageID #: 1351
                                                                                   III -    2


           1                                         I N D E X

           2

           3      INSTRUCTIONS TO THE JURY

           4             (By the Court)                                  4

           5
                  CLOSING ARGUMENTS
           6
                         (By Mr. Stilley)                            9
           7             (By Mr. Oliver)                            11
                         (By Mr. Stilley)                           19
           8

           9

          10

          11

          12

          13

          14

          15

          16

          17

          18

          19

          20

          21

          22

          23

          24

          25




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
         Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 3 of 24 PageID #: 1352
                                                                                         III -   3


           1                  (The following proceedings were held outside the

           2      hearing of the jury on April 14, 2004 at 9:12 a.m.:)

           3                  THE COURT:      Good morning.       Are you all satisfied

           4      with the instructions and verdict form?

           5                  MR. STILLEY:       Yes, Your Honor, for the plaintiff.

           6                  THE COURT:      Okay.

           7                  MR. OLIVER:      Yes, sir.      I hope we did it to your

           8      satisfaction.

           9                  THE COURT:      It looks good to me.           Fine.

          10                  Now, I'm inclined to read the instructions first.

          11      That's normally the state procedure.              Many times in federal

          12      court the instructions are read last, but I'm inclined to go

          13      ahead and read these instructions in case you want to argue

          14      them or use them in some kind of way.                  So that's my

          15      inclination to read these first.             Any objection to that?

          16                  MR. STILLEY:       None, Your Honor.

          17                  MR. OLIVER:      No, sir, I like it that way.

          18                  THE COURT:      Yeah, I think it's better.             If you so

          19      desire, you can argue what they are.              Okay.      Let's bring the

          20      jury out.

          21                  MR. OLIVER:      Your Honor, I'd again ask, respectfully

          22      remind the Court that maybe the Court might say something to

          23      the jury about the absence of the Fair Labor Standard Act.

          24      I'm sure both of us will mention it, but they might believe

          25      it better from Your Honor.




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
         Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 4 of 24 PageID #: 1353
                                                                                    III -     4


           1                  THE COURT:      Yes, I'll mention it.

           2                  (The following proceedings continued within the

           3      hearing of the jury:)

           4                  THE COURT:      Good morning, ladies and gentlemen of

           5      the jury.      We're now going to enter the instruction and

           6      closing argument phase of this case.              And the Fair Labor

           7      Standards Act portion of the case has been resolved.              So the

           8      only remaining issue will be the plaintiff's battery claim.

           9      And so that will be what will be addressed by counsel in

          10      their argument, and that will be the remaining issue for you

          11      to make a decision upon.

          12                  So the instructions:         Ladies and gentlemen of the

          13      jury, the instructions that I gave at the beginning of the

          14      trial and during the trial remain in effect.              I now give you

          15      additional instructions.           Of course you must continue to

          16      follow the instructions which were given earlier as well as

          17      those that I give now.          You must not single out some

          18      instructions and ignore others because all are equally

          19      important.      This is true even though some of those I gave at

          20      the beginning of the trial or during the trial are not

          21      repeated here.

          22                  The instructions I'm giving you now are in writing

          23      and will be available to you in your jury room.              I emphasize,

          24      however, that this does not mean that they are more important

          25      than the earlier instructions.             And, again, all instructions




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
         Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 5 of 24 PageID #: 1354
                                                                                       III -        5


           1      whenever given and whether in writing or not must be

           2      followed.

           3                  Neither in these instructions nor in any ruling,

           4      action, or remark that I have made during the course of this

           5      trial have I intended to give any opinion or suggestion as to

           6      what your verdict should be.            That is entirely up to you.          If

           7      I've occasionally made statements or asked questions, do not

           8      assume that because I made statements or asked questions that

           9      I hold any opinion on these matters.              The answers to these

          10      questions or what your verdict should be.

          11                  In deciding what the facts are, you will have to

          12      decide what testimony you believe and what testimony you do

          13      not believe.       You may believe all of what a witness has said,

          14      only part of it, or none of it.             In deciding what testimony

          15      to believe, you may consider the witnesses' intelligence,

          16      their opportunity to have seen or heard the things testified

          17      about, the witness' memory, any motives the witness may have

          18      for testifying a certain way, the manner of the witness while

          19      testifying, whether the witness said something different at

          20      an earlier time, the reasonableness of the testimony, and the

          21      extent to which the testimony is consistent with any evidence

          22      that you believe.

          23                  In deciding whether or not to believe a witness,

          24      keep in mind that sometimes people hear and see things

          25      differently and sometimes forget things.               You need to




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
         Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 6 of 24 PageID #: 1355
                                                                                   III -     6


           1      consider, therefore, whether a contradiction is an innocent

           2      misrecollection or a lapse of memory or an intentional

           3      falsehood.      And that may depend upon whether it has to do

           4      with an important fact or only a small detail.

           5                  In these instructions you're told that your verdict

           6      depends on whether you find certain facts have been proved.

           7      The burden of proving a fact is upon the party whose claim or

           8      defense depends upon that fact.             The party who has the burden

           9      of proving a fact must prove it by the greater weight or

          10      preponderance of the evidence.

          11                  To prove something by the greater weight or

          12      preponderance of the evidence is to prove that it is more

          13      likely true than not true.           It is determined by considering

          14      all of the evidence and deciding which evidence is more

          15      believable.      If on any issue in the case the evidence is

          16      equally balanced, you cannot find that issue has been proved.

          17      The greater weight or preponderance of the evidence is not

          18      necessarily determined by the greater number of witnesses or

          19      exhibits a party has presented.             You may have heard the term

          20      proof beyond a reasonable doubt.             That is a stricter standard

          21      which applies in criminal cases.             It does not apply in civil

          22      cases such as this.         You should, therefore, put it out of

          23      your minds.

          24                  Your verdict must be for plaintiff if you believe:

          25      First -- and the only remaining defendant in this case is Bo




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
         Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 7 of 24 PageID #: 1356
                                                                                     III -    7


           1      Gerhardt, so let me say that also.              Your verdict must be for

           2      plaintiff if you believe defendant intentionally pushed

           3      plaintiff.      And second, defendant thereby caused a contact

           4      with the plaintiff which was offensive to plaintiff.               And

           5      third, such contact would be offensive to a reasonable

           6      person.

           7                  If you find in favor of Plaintiff Jordan Blair and

           8      against Defendant Bo Gerhardt, then you must award Jordan

           9      Blair such sum as you believe will fairly and justly

          10      compensate Jordan Blair for damage you believe Jordan Blair

          11      sustained as a direct result of the occurrences mentioned in

          12      the evidence.

          13                  In conducting your deliberations and returning a

          14      verdict, there's certain rules that you must follow.               First,

          15      when you go to your jury room you must select one of your

          16      members to act as your foreperson.              That person will preside

          17      over your discussions and speak for you here in court.

          18                  Second, it is your duty as jurors to discuss this

          19      case with one another in your jury room.               You should try to

          20      reach agreement if you can do so without violence to

          21      individual judgment because your verdict must be unanimous.

          22                  Each of you must make your own conscientious

          23      decision, but only after you have considered all of the

          24      evidence, discussed it fully with your fellow jurors, and

          25      listened to the views of your fellow jurors.               Do not be




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
         Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 8 of 24 PageID #: 1357
                                                                                   III -     8


           1      afraid to change your opinions if the discussion persuades

           2      you that you should, but do not come to a decision simply

           3      because the other jurors think that it is right or simply to

           4      reach a verdict.        Remember at all times that you are not

           5      partisans, you are judges, judges of the facts.              Your sole

           6      interest is to seek the truth from the evidence in the case.

           7                  Third, if you need to communicate with me during

           8      your deliberations you may send a note to me through the

           9      marshal or bailiff signed by one or more of you jurors and

          10      I'll respond as soon as possible either in writing or orally

          11      here in open court.

          12                  Remember that you should not tell anyone including

          13      me how your votes stand numerically.              Your verdict must be

          14      based solely on the evidence and the law which has been given

          15      in the instructions.         Your verdict must be unanimous.

          16      Nothing that I have a said or done is intended to suggest

          17      what your verdict should be.            That is entirely up to you to

          18      decide.

          19                  Finally, the verdict form is the notice of the

          20      decision that you reach in the case.              And you will take this

          21      verdict -- form of verdict with you to your jury room and

          22      when each of you have agreed upon a verdict, your foreperson

          23      will fill in the verdict form, sign it, and date it and

          24      advise the marshal or bailiff that you're ready to return to

          25      the courtroom.       And you will return these -- these to the




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
         Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 9 of 24 PageID #: 1358
                                                                                    III -      9


           1      courtroom with any instructions or other materials that you

           2      may have.

           3                  We're now going to commence with the closing

           4      arguments.      Okay.    Mr. Stilley, you ready?

           5                  MR. STILLEY:       Thank you, Judge.       May it please the

           6      Court, counsel, ladies and gentlemen of the jury.               Thank you

           7      very much for your patience and kind attention in this case.

           8      I know this has taken a little bit longer than you might

           9      expect for something of this nature.              At this point in time

          10      the only surviving claim for your consideration turns on the

          11      credibility of witnesses.

          12                  We've got the defendant, Bo Gerhardt, saying that he

          13      did not commit any battery.            And we've got another defendant,

          14      Drew Parrish, who says I was there and I didn't see it

          15      happen.     And we've got the plaintiff saying this happened to

          16      me.

          17                  Let's think about this.          The plaintiff stated that

          18      he was slammed up against a sink and it hurt overnight.               He

          19      didn't say it injured my back and I was hurt for a long time.

          20      He didn't make a big story.            He didn't say that anybody else

          21      hit him.      If somebody was going to lie, would they make a lie

          22      of that nature with that sort of a story?               This story has all

          23      the earmarks of the truth.

          24                  As a matter of fact, in order to explain, even to

          25      try to let you understand why did he ask for compensation for




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
        Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 10 of 24 PageID #: 1359
                                                                                     III - 10


           1      that, I allowed him to explain what's the difference between

           2      this hit and a hit that you take on the football field.                He

           3      didn't tell you, well, that was a lot harder than any of the

           4      hits I took on the football field.              He said on the football

           5      field there are rules.          And basically -- he didn't say all

           6      this, but basically what he's saying is I know what causes

           7      you to get hit.        I know how you keep from getting hit.          At

           8      Mountain Park concerning this incident of battery, I didn't

           9      know what caused me to get hit, and I didn't have any way to

          10      understand the rules.

          11                  The defendants themselves say we give the parents a

          12      student handbook to the parents.             We don't give it to the

          13      students.

          14                  And now, as far as physical injury, what he said was

          15      it hurt overnight.         That's all he said.         He said as far as

          16      mental and emotional distress, what that caused him to do was

          17      be fearful of anything he did because he didn't know what

          18      would cause further injury to him.

          19                  And I'd respectfully submit to you that on the basis

          20      of this when you consider these competing stories that you

          21      should give credit to Jordan Blair's story and award him as

          22      the Court said fair and just compensation.                And I'm willing

          23      and more than happy to leave that to you to let you decide

          24      what is the sense of this community as to what is fair and

          25      just compensation for an injury of this nature.                Thank you so




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
        Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 11 of 24 PageID #: 1360
                                                                                     III - 11


           1      much for your time.

           2                  MR. OLIVER:      May it please the Court.

           3                  THE COURT:      Mr. Oliver.

           4                  MR. OLIVER:      Ladies and gentlemen, Mr. Stilley,

           5      Mr. Blair.      The last three days the eight of you have had an

           6      opportunity to participate in something that's unique to the

           7      United States, and that's our jury system.              This the only

           8      country in the world that it had enough sense to entrust

           9      decision making to our citizens.             We have an opportunity,

          10      small opportunities to participate in our democracy.               We have

          11      an opportunity to vote.          We have an opportunity from time to

          12      time to serve in the armed forces.              We have numerous

          13      charitable opportunities.

          14                  One of the opportunities that we forget about

          15      because it's an inconvenience is jury duty.              In our system,

          16      it's a system that has lasted for over 200 years, takes good

          17      citizens who by reason of their background, education, and

          18      experience bring a wealth of knowledge and we let those

          19      people, you, decide disputes.

          20                  You know, they used to do this in England, each side

          21      would go out and hire a champion and the person that had the

          22      most resources, the fanciest tools, they would hire the

          23      biggest champion and get on the biggest horse, and if the

          24      defendants didn't have or the defendant didn't have that kind

          25      of money or that big horse, you know, you've all seen the




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
        Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 12 of 24 PageID #: 1361
                                                                                   III - 12


           1      Prince Valient movies, that's really how they did it, each

           2      champion galloped down the road on the horse, and the biggest

           3      and strongest always won.           That didn't always produce the

           4      right result.

           5                  So we have a jury system, and we believe in that

           6      system.     And that's why we're here because we trust you to

           7      hear the evidence and to do what the judge has indicated is

           8      your duty, and that's to decide the facts based on what he

           9      has told you the law is.

          10                  Bo in particular is grateful for your service.            I'm

          11      grateful for your service.           I'm an officer of the court.

          12      Without you we don't function.             Without you we are not a

          13      democracy.      We appreciate your time.

          14                  I also understand in this case some of the

          15      difficulty you've had because you heard two days and all this

          16      stuff about Fair Labor Standards Act, which is now not for

          17      your decision.       The judge has decided that as a matter of

          18      law.    So the only thing that that evidence matters to you is

          19      as it relates to the credibility of the witnesses,

          20      particularly Drew Parrish and Bo as relates to what actually

          21      happened on October the 24th.            And then the rest of the

          22      reasons as it bears on who was telling the truth and why.

          23                  You know, this lawsuit started a long time before we

          24      got here today, before you were sworn in on Monday.             Mountain

          25      Park, which employs Bo, takes troubled youth, troubled youth.




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
        Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 13 of 24 PageID #: 1362
                                                                                       III - 13


           1      We have a form that indicates for every potential applicant

           2      what their problems are.           We ask a series of things, what are

           3      their behavior problems, drug or alcohol, sexual activity,

           4      runaway, wrong friends, failing school, rebellion,

           5      disrespect, out of control behavior disorders.

           6                  Now, what Jordan's problems were are not part of

           7      this case.      What Jordan's problems are are not part of the

           8      case.     But when his parents in the exercise of their parental

           9      judgment got worried enough to turn to the institution of

          10      last resort starting in October 19th of 2000, it was because

          11      Jordan was troubled.         It was -- it was because Jordan was in

          12      difficulty in a residential placement facility.                  It was the

          13      last resort.

          14                  And when his parents came on October the 20th and

          15      enrolled him, it was because of that.                  They are the ones that

          16      were trying to live with him and could not.                  And on October

          17      the 24th he came to Mountain Park, what his parents thought

          18      would be his choice.         And how did he describe that he came?

          19      He came in handcuffs, not handcuffs that we put on, not

          20      handcuffs his parents put on.

          21                  Yet when he came he was greeted by Drew, Drew

          22      Parrish, who remembers it because of that.                  He's greeted by

          23      Drew on the 24th.        Who is Drew Parrish?            Drew Parrish is a

          24      product of Mountain Park.           Three years there, junior staff,

          25      staff, is no longer employed.            He's pursuing his education at




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
        Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 14 of 24 PageID #: 1363
                                                                                       III - 14


           1      Crown Bible College.         Where is Crown College?           Knoxville,

           2      Tennessee.      He drove from Knoxville, Tennessee to here

           3      yesterday when Jordan identified him as a witness.                  Why did

           4      he drive all the way across the state of Tennessee in to

           5      Missouri?      Well, one time he was a defendant in this case but

           6      not in the battery part.           But he came from bible college here

           7      so that the eight of you would know the truth, so that the

           8      eight of you would know what happened.

           9                  So what did happen?         Jordan comes in handcuffs just

          10      like we told you.        The handcuffs were removed.            Jordan and

          11      Matt Elmore -- Drew and Matt Elmore then take Jordan into the

          12      dorm and downstairs and sit him on the couch.                  Matt Elmore,

          13      former student.        You've heard from former students.            Where is

          14      Matt Elmore?       If this was true, if Matt Elmore witnessed

          15      this, don't you think that they would have Matt Elmore

          16      sitting out there and you would have heard from Matt Elmore?

          17      Don't know.      You didn't.

          18                  So they take him downstairs.               They sit him on the

          19      couch.     Talk to him, start explaining things to him.               Bo

          20      comes in.      That's part of his job.          He comes in.      He talks to

          21      them.     And what happens at that point in time?               The boy is

          22      like every other young man who comes, given soap and a towel

          23      and told to go take a shower.            That's the way you start.

          24      Object No. 1, take a shower.            That's the first step.

          25                  And Mr. Stilley and Mr. Blair between the two of




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
        Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 15 of 24 PageID #: 1364
                                                                                       III - 15


           1      them, they can't even get straight what their story is.

           2      You'll recall, I wrote it down.             Mr. Stilley told you in

           3      opening statement that Bo slammed him.                 Jordan wasn't willing

           4      to go quite that far, so Jordan had him shoved.                 Mr. Stilley

           5      wants to make it a slam again this morning.                 Pejorative

           6      adjectives, attack words.           Attack words like indoctrination.

           7                  So what happened?        Bo -- did Bo -- did Bo push and

           8      shove him, offensively touch him?             You notice the instruction

           9      they submitted says offensive touching.                 It did not happen.

          10      And why do I know it did not happen?              It did not happen

          11      because Bo said it didn't happen.             And Drew Parrish drove

          12      here from bible college to tell you that it didn't happen.

          13      And what did Drew Parrish tell you, if he saw it, he would

          14      have reported it.        Why?     Because they believe.

          15                  Know the truth and the truth will set you free.

          16      They believe.       This is a fundamental independent Baptist

          17      institution.       They believe.       They operate to save children

          18      based on this belief.           And they don't need to make things up.

          19      If Bo makes a mistake, Drew would have corrected him by

          20      reporting it.       It didn't happen.

          21                  The judge has told you in Instruction No. 3 that

          22      you're the sole judge of the credibility of the witnesses.

          23      And you need to ask yourself or you will ask yourself why

          24      would this young man and his attorney if they can get their

          25      stories straight about what happened, why did they say, why




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
        Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 16 of 24 PageID #: 1365
                                                                                       III - 16


           1      did they do?       Well, let's just look at motives.         What's the

           2      root of all evil.        Money is the root of all evil.        The love

           3      of money is the root of all evil.             Money is an obvious

           4      objective.      Why would you say something to get money?             Is

           5      that the real reason?          I sort of doubt it.      I sort of doubt

           6      it.    What kind of person has a lawyer that stands up in

           7      opening statement and starts out by saying this is not a case

           8      about religion, I'm a Baptist, Bo -- Jordan is a Baptist, and

           9      he's a born again Christian, and then has his client get on

          10      the stand and say he's nondenominational, and having said

          11      that he's nondenominational calls church indoctrination.

          12      Think about that for a minute.             Church in this courtroom is

          13      indoctrination.        It's important.

          14                  But why do you have a slick political correctness

          15      type of attack where teaching religion and exposing a child

          16      to the wishes of their parents becomes indoctrination?                 When

          17      you have those kind of things, you have those kind of things

          18      when you want to get, even when you want to retaliate against

          19      somebody.      Why would you want to retaliate?          Well, let's

          20      think about this for a minute.             Jordan's parents put him

          21      there.     He didn't want to be there.           They put him from

          22      whatever troubled environment he was in into a rigid

          23      environment, a strict environment.              Rule No. 1, get up; Rule

          24      No. 2, brush your teeth; Rule No. 3, clean yourself; Rule

          25      No. 4, make your bed; Rule No. 5, clean up after yourself.




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
        Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 17 of 24 PageID #: 1366
                                                                                       III - 17


           1      All the things that all of us that have children wish our own

           2      kids did.

           3                  But from a troubled structure to a rigid, one, two,

           4      three, four, five, a rigid structure.                  He doesn't want to be

           5      there.     He resents his parents.          He resents the situation.

           6      He resents the discipline.           He resents the structure.         Why

           7      does he pick on Bo?         Why does he pick on Bo?           Well, I want to

           8      suggest why he picks on Bo.            Because Bo didn't touch him.           Bo

           9      didn't slam him.        Bo didn't shove him.            Bo didn't push him.

          10      What did Bo do that leads to this lawsuit?                  What Bo did was

          11      administer the diagnostic test.

          12                  You remember Brother Sam explained that and Bo

          13      explained and Brother O'Brient explained that when you have

          14      your academics, that what you do is they give you a

          15      diagnostic test to see where your level is, and then they

          16      start you at that level.           Well, according to Bo after his

          17      diagnostic test he had to start out at the fifth grade level.

          18      When he got around to writing his parents, it was the 11th

          19      grade and repeat his junior year.

          20                  But ladies and gentlemen, you know what stuck in

          21      this young man's crawl, what stuck in this young man's crawl

          22      and why we're really here today besides all these collateral

          23      motivations, the money, the structure, the rebellion, the

          24      handcuffs, besides all those things, you know why we're here

          25      today?     Because he had to do remedial work as a result of the




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
        Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 18 of 24 PageID #: 1367
                                                                                          III - 18


           1      test that Bo Gerhardt administered.

           2                  And that's eating at this guy.               It's in his letters.

           3      Twenty-eight letters.          I can't graduate this year.          I'm not

           4      going to be able to go to graduation.                  I have to repeat the

           5      11th grade.      Fifth grade remedial work.              He took the test, he

           6      didn't do well.        Bo administered the test.            It's the only

           7      explanation that I can think of.

           8                  THE COURT:      Two minutes, Counsel.

           9                  MR. OLIVER:      Thank you, Your Honor.

          10                  Ladies and gentlemen, you and you alone are the

          11      judge of credibility of these witnesses.                  Bo and Drew

          12      Parrish, the two witnesses that were identified by the

          13      plaintiff have told you the truth so help them God, the truth

          14      that they live and believe every day.                  They live their lives

          15      based on that truth.         They did not, Bo Gerhardt did not push,

          16      shove, or offensively touch Jordan Blair on the 24th day of

          17      October 2001.       This boy came a troubled boy in handcuffs.                A

          18      troubled boy who had to have remedial education.                  A troubled

          19      boy who blames Bo Gerhardt for what his problems were.

          20                  When you go back into to the privacy of your jury

          21      room and deliberate, please, when you fill the verdict out,

          22      know the truth, and the truth is that your verdict must be

          23      for Bo Gerhardt because this battery did not happen.                    It

          24      didn't happen.       They can't even describe it the same way.

          25      There is no indoctrination.            There's no push.        There's no




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
        Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 19 of 24 PageID #: 1368
                                                                                   III - 19


           1      shove.     There's only right truth and truth.           And the truth

           2      is, the truth is like Drew Parrish told you and more

           3      importantly like Bo told you, this did not happen.

           4                  And we trust your judgment.           We trust the oath that

           5      you took.      And we know that after your deliberation you will

           6      do the right thing and return a verdict for Bo Gerhardt.

           7                  Thank you.

           8                  MR. STILLEY:       Ladies and gentlemen, let me say this:

           9      Even not saying anything about Jordan Blair, if any person

          10      goes to jail, they are entitled to a copy of the rules.                They

          11      are entitled to know what gets you in trouble and what

          12      doesn't.      Even if you go to jail, you're still entitled to

          13      the sanctity of your person.            A jailer can't shove you or

          14      push or however they want to say it or hit you without cause.

          15      That is a violation of civil rights.              It's not tolerated in

          16      our society.

          17                  And there's a suggestion that, well, Drew Parrish

          18      was just identified here recently, so we had to call him from

          19      outside to come here.          Well, he was identified as a

          20      defendant.      There were depositions done in which the

          21      witnesses to this incident were identified.              Surely they

          22      can't realistically say this came as a surprise to them.

          23      They knew about it.

          24                  There's a suggestion that this -- it's just about

          25      greed, this is about money.            No, this is not about greed,




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
        Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 20 of 24 PageID #: 1369
                                                                                       III - 20


           1      this is not about money.           If Mr. Blair doesn't get $2 for

           2      Tylenol or $200,000, he was wronged.              He doesn't like that.

           3      He doesn't think that's supposed to happen in our society,

           4      and he wants some accountability.             He wants a judgment that

           5      that is wrong, that that is offensive contact.                  It's not

           6      tolerated in our society.           And the amount of damages,

           7      whatever it is, that you find justly and reasonably

           8      compensates him for that wrong that he's suffered.

           9                  I don't recall saying that he was Baptist.               I recall

          10      saying that he was a person of faith.                  And let me show you.

          11      You've got a number of letters here, and I'm sure you all

          12      know that when a person writes a number of letters or a great

          13      deal of handwriting of any sort, they reveal a little bit

          14      about themselves in more ways than one.                  And you can take a

          15      look at these.       But if you need to take a look, those will

          16      tell you a lot about the story.             You can learn about this if

          17      you come to a situation where you need to find things out

          18      because they're admitted into evidence, they are evidence in

          19      this case.

          20                  Exhibit 20 is an example of why the plaintiff would

          21      say that he was indoctrinated rather than provided the

          22      religious training that he expected.              What did he say?         He

          23      said, here are a few things I've learned, speaking in tongues

          24      is false doctrine.         The Christian music I listen to is

          25      wicked.     Our church is wicked.          The music you sing is wicked.




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
        Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 21 of 24 PageID #: 1370
                                                                                      III - 21


           1      Instruments they use are wicked.             Drums, electric guitar is

           2      wicked, and the way they sing is wrong.

           3                  Now, does that sound like somebody that is just

           4      satisfied?      Okay.    I'm a Baptist, and I'm just going to do

           5      things -- well, just making a complaint lately, Johnnie come

           6      lately complaint about what's going on.                Of course not.   He

           7      complained to his parents.           He told them what they were

           8      saying.     And you can see on the back side of the letter that

           9      Bo Gerhardt says, "Call and I can help you respond."                So the

          10      defendants can't say they didn't know about this.                They did

          11      know about this.        And when you look at the bottom, they want

          12      to make out that this person is not a Christian, is an

          13      unbeliever or something like that.              Let's look what he asked

          14      for along with work boots.           I need a pocket bible.

          15                  THE COURT:      One minute, Counsel.

          16                  MR. STILLEY:       Thank you, Judge.        A person who was

          17      had no belief in Christian religion would not be asking for a

          18      bible.     And as to the idea about this, the educational parts,

          19      you know, there's some things that are out of this case, but

          20      once again if you need to see what he said about his

          21      educational requirements, look in the letter or you can

          22      recall what he said from the stand about having completed the

          23      requirements of graduation.

          24                  Thank you very much for your attention.

          25                  THE COURT:      Michelle, will you take the jury to a




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
        Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 22 of 24 PageID #: 1371
                                                                                       III - 22


           1      safe and secure place so they may commence their

           2      deliberations.       Here are the last instructions and the

           3      verdict form.

           4                  (Jury sent to deliberate at 9:43 a.m.)

           5                  (The following proceedings were held at 11 a.m.)

           6                  THE COURT:      Good morning again, ladies and gentlemen

           7      of the jury.       I understand you all have reached a verdict.

           8      Is that correct?

           9                  JUROR SWINEY:       Yes.

          10                  THE COURT:      Clerk, publish the verdict, please.

          11                  THE CLERK:      On Plaintiff Jordan Blair's claims

          12      against Defendant Bo Gerhardt as submitted in Instruction

          13      No. 5, we find in favor of Jordan Blair.               We find the

          14      Plaintiff Jordan Blair's damages to be $20,000.               Signed by

          15      the foreperson this 14th day of April 2004.

          16                  Ladies and gentlemen of the jury, is the verdict I

          17      have just read your true and correct verdict?

          18                  THE JURORS:      Yes.

          19                  THE COURT:      Does either party wish to have the jury

          20      further polled or individually polled?

          21                  MR. OLIVER:      No, sir.

          22                  MR. STILLEY:       No, Your Honor.

          23                  THE COURT:      Very well.      Ladies and gentlemen of the

          24      jury, I want to thank you for your time, attention, and

          25      service.      It's not an easy job being a juror.           The admonition




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
        Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 23 of 24 PageID #: 1372
                                                                                    III - 23


           1      is lifted.      You can discuss this case as fully and freely

           2      with anyone you choose.

           3                  We do have a rule within this federal court system,

           4      the lawyers cannot inquire of you.              If you want to talk to

           5      them, that's up to you.          You can talk to anyone you choose

           6      about this case.

           7                  So thank you so much for your service.           You're

           8      excused.

           9                  (Jury dismissed.)

          10                  THE COURT:      Anything else?

          11                  MR. STILLEY:       No, Your Honor.

          12                  THE COURT:      Thank you all so much.

          13                  (Court in recess at 11:03 a.m.)

          14

          15

          16

          17

          18

          19

          20

          21

          22

          23

          24

          25




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
        Case: 1:02-cv-00088-CAS Doc. #: 181 Filed: 07/09/04 Page: 24 of 24 PageID #: 1373
                                                                                  III - 24


           1                                 C E R T I F I C A T E

           2                    I, Susan R. Moran, Registered Merit Reporter, in

           3      and for the United States District Court for the Eastern

           4      District of Missouri, do hereby certify that I was present

           5      at and reported in machine shorthand the proceedings in the

           6      above-mentioned court; and that the foregoing transcript is

           7      a true, correct, and complete transcript of my stenographic

           8      notes.

           9                    I further certify that I am not attorney for, nor

          10      employed by, nor related to any of the parties or attorneys

          11      in this action, nor financially interested in the action.

          12                    I further certify that this transcript contains

          13      pages 1 - 24 and that this reporter takes no responsibility

          14      for missing or damaged pages of this transcript when same

          15      transcript is copied by any party other than this reporter.

          16                    IN WITNESS WHEREOF, I have hereunto set my hand

          17      at St. Louis, Missouri, this _________ day of

          18      __________________, 2004.

          19

          20                                         ______________________________
                                                     /s/ Susan R. Moran
          21                                         Registered Merit Reporter

          22

          23

          24

          25




PDF created with FinePrint pdfFactory trial version www.pdffactory.com
